                       Case 1:23-mi-99999-UNA Document 2571-5 Filed 08/11/23 Page 1 of 2
JS44 (Rev. 1/13 NDGA)                        CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                            DEFENDANT(S)
 Katavius Threatt, Individually and as Next Friend                                          Pine Ridge Macon, LLC d/b/a Pine Ridge
 of Niasia Threatt                                                                          Apartments, New Home, LLC, Tiesha Kay, and
                                                                                            John Doe Nos. 1-10
  (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
         PLAINTIFF Bibb County, Georgia                                                       DEFENDANT Westchester County, New York
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                               NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF
                                                                                               LAND INVOLVED


  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                     ATTORNEYS (IF KNOWN)
                                   E-MAIL ADDRESS)

 Ashley Cameron-Bivins, Esq.                                                                Matthew G. Moffett, Esq. and Chris J. Perniciaro, Esq.
 Dozier Law Firm LLC                                                                        Gray, Rust, St. Amand, Moffett & Brieske, LLC
                                                                                            950 East Paces Ferry Road
 487 Cherry Street
                                                                                            Suite 1700 - Salesforce Tower Atlanta
 P.O. Box 13                                                                                Atlanta, GA 30326
 Macon, GA 31202-0013                                                                       (404) 870-7448; mmoffett@grsmb.com;
 Phone: 478-742-8441; ashley@dozierlaw.com                                                  cperniciaro@grsmb.com

II. BASIS OF JURISDICTION                                                    III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                      (FOR DIVERSITY CASES ONLY)

                                                                             PLF      DEF                                  PLF      DEF

   1 U.S. GOVERNMENT
     PLAINTIFF
                                 3 FEDERAL QUESTION
                                   (U.S. GOVERNMENT NOT A PARTY)
                                                                           ■    1       1   CITIZEN OF THIS STATE             4        4    INCORPORATED OR PRINCIPAL
                                                                                                                                            PLACE OF BUSINESS IN THIS STATE

   2 U.S. GOVERNMENT
     DEFENDANT
                          ■      4 DIVERSITY
                                  (INDICATE CITIZENSHIP OF PARTIES
                                                                                2       2   CITIZEN OF ANOTHER STATE          5
                                                                                                                                  ■     5   INCORPORATED AND PRINCIPAL
                                                                                                                                            PLACE OF BUSINESS IN ANOTHER
                                   IN ITEM III)                                                                                             STATE
                                                                                3       3   CITIZEN OR SUBJECT OF A
                                                                                            FOREIGN COUNTRY                   6        6    FOREIGN NATION




IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                TRANSFERRED FROM                                      APPEAL TO DISTRICT JUDGE
   1 ORIGINAL
     PROCEEDING
                   ■2 STATE
                      REMOVED FROM
                            COURT
                                              3 REMANDED FROM
                                                APPELLATE COURT
                                                                       4 REINSTATED OR
                                                                         REOPENED
                                                                                              5 ANOTHER DISTRICT
                                                                                                  (Specify District)
                                                                                                                          6 MULTIDISTRICT
                                                                                                                            LITIGATION
                                                                                                                                                    7 FROM MAGISTRATE JUDGE
                                                                                                                                                      JUDGMENT


V. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                             JURISDICTIONAL STATUTES UNLESS DIVERSITY)

28 USC 1332



(IF COMPLEX, CHECK REASON BELOW)

        1. Unusually large number of parties.                                ■ 6. Problems locating or preserving evidence
        2. Unusually large number of claims or defenses.                     ■ 7. Pending parallel investigations or actions by government.
        3. Factual issues are exceptionally complex                                 8. Multiple use of experts.

        4. Greater than normal volume of evidence.                                  9. Need for discovery outside United States boundaries.

■ 5. Extended discovery period is needed.                                           10. Existence of highly technical issues and proof.


                                                                    CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                          AMOUNT $                                         APPLYING IFP                                    MAG. JUDGE (IFP)


JUDGE                              MAG. JUDGE                                       NATURE OF SUIT                                 CAUSE OF ACTION                 _
                                                       (Referral)
          Case 1:23-mi-99999-UNA Document 2571-5 Filed 08/11/23 Page 2 of 2
VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK            CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK                  SOCIAL SECURITY - "0" MONTHS DISCOVERY
       150 RECOVERY OF OVERPAYMENT &                   441 VOTING                                           TRACK
            ENFORCEMENT OF JUDGMENT                    442 EMPLOYMENT                                               861 HIA (1395ff)
       152 RECOVERY OF DEFAULTED STUDENT               443 HOUSING/ ACCOMMODATIONS                                  862 BLACK LUNG (923)
            LOANS (Excl. Veterans)                     444 WELFARE                                                  863 DIWC (405(g))
       153 RECOVERY OF OVERPAYMENT OF                  440 OTHER CIVIL RIGHTS                                       863 DIWW (405(g))
            VETERAN'S BENEFITS                         445 AMERICANS with DISABILITIES - Employment                 864 SSID TITLE XVI
                                                       446 AMERICANS with DISABILITIES - Other                      865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK                  448 EDUCATION
       110 INSURANCE                                                                                        FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
       120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK                   TRACK
       130 MILLER ACT                                   462 NATURALIZATION APPLICATION                              870 TAXES (U.S. Plaintiff or Defendant)
       140 NEGOTIABLE INSTRUMENT                        465 OTHER IMMIGRATION ACTIONS                               871 IRS - THIRD PARTY 26 USC 7609
       151 MEDICARE ACT
       160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY                  OTHER STATUTES - "4" MONTHS DISCOVERY
       190 OTHER CONTRACT                                                                                   TRACK
                                                 TRACK
       195 CONTRACT PRODUCT LIABILITY                                                                               375 FALSE CLAIMS ACT
                                                        463 HABEAS CORPUS- Alien Detainee
       196 FRANCHISE                                                                                                400 STATE REAPPORTIONMENT
                                                        510 MOTIONS TO VACATE SENTENCE
                                                        530 HABEAS CORPUS                                           430 BANKS AND BANKING
REAL PROPERTY - "4" MONTHS DISCOVERY                    535 HABEAS CORPUS DEATH PENALTY                             450 COMMERCE/ICC RATES/ETC.
TRACK                                                   540 MANDAMUS & OTHER                                        460 DEPORTATION
       210 LAND CONDEMNATION                            550 CIVIL RIGHTS - Filed Pro se                             470 RACKETEER INFLUENCED AND CORRUPT
       220 FORECLOSURE                                  555 PRISON CONDITION(S) - Filed Pro se                           ORGANIZATIONS
       230 RENT LEASE & EJECTMENT                       560 CIVIL DETAINEE: CONDITIONS OF                           480 CONSUMER CREDIT
       240 TORTS TO LAND                                     CONFINEMENT                                            490 CABLE/SATELLITE TV
       245 TORT PRODUCT LIABILITY                                                                                   891 AGRICULTURAL ACTS
       290 ALL OTHER REAL PROPERTY                                                                                  893 ENVIRONMENTAL MATTERS
                                                 PRISONER PETITIONS - "4" MONTHS DISCOVERY
                                                                                                                    895 FREEDOM OF INFORMATION ACT
                                                 TRACK                                                              950 CONSTITUTIONALITY OF STATE STATUTES
TORTS - PERSONAL INJURY - "4" MONTHS                    550 CIVIL RIGHTS - Filed by Counsel                         890 OTHER STATUTORY ACTIONS
DISCOVERY TRACK                                         555 PRISON CONDITION(S) - Filed by Counsel                  899 ADMINISTRATIVE PROCEDURES ACT /
       310 AIRPLANE                                                                                                    REVIEW OR APPEAL OF AGENCY DECISION
       315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
       320 ASSAULT, LIBEL & SLANDER              TRACK                                                      OTHER STATUTES - "8" MONTHS DISCOVERY
       330 FEDERAL EMPLOYERS' LIABILITY                 625 DRUG RELATED SEIZURE OF PROPERTY                TRACK
       340 MARINE                                            21 USC 881                                             410 ANTITRUST
       345 MARINE PRODUCT LIABILITY                     690 OTHER                                                   850 SECURITIES / COMMODITIES / EXCHANGE
       350 MOTOR VEHICLE
       355 MOTOR VEHICLE PRODUCT LIABILITY                                                                  OTHER STATUTES - “0" MONTHS DISCOVERY
     ■ 360 OTHER PERSONAL INJURY                 LABOR - "4" MONTHS DISCOVERY TRACK
       362 PERSONAL INJURY - MEDICAL
                                                        710 FAIR LABOR STANDARDS ACT                        TRACK
                                                        720 LABOR/MGMT. RELATIONS                                   896 ARBITRATION
            MALPRACTICE
                                                        740 RAILWAY LABOR ACT                                            (Confirm / Vacate / Order / Modify)
       365 PERSONAL INJURY - PRODUCT LIABILITY
                                                        751 FAMILY and MEDICAL LEAVE ACT
       367 PERSONAL INJURY - HEALTH CARE/
                                                        790 OTHER LABOR LITIGATION
            PHARMACEUTICAL PRODUCT LIABILITY
                                                        791 EMPL. RET. INC. SECURITY ACT
       368 ASBESTOS PERSONAL INJURY PRODUCT
            LIABILITY
                                                 PROPERTY RIGHTS - "4" MONTHS DISCOVERY TRACK
                                                        820 COPYRIGHTS
TORTS - PERSONAL PROPERTY - "4" MONTHS                                                                      * PLEASE NOTE DISCOVERY
                                                        840 TRADEMARK
DISCOVERY TRACK
       370 OTHER FRAUD
                                                                                                                 TRACK FOR EACH CASE TYPE.
       371 TRUTH IN LENDING                      PROPERTY RIGHTS - "8" MONTHS DISCOVERY TRACK                    SEE LOCAL RULE 26.3
       380 OTHER PERSONAL PROPERTY DAMAGE               830 PATENT
       385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK
       422 APPEAL 28 USC 158
       423 WITHDRAWAL 28 USC 157




VII. REQUESTED IN COMPLAINT:
      CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23            DEMAND $_____________________________
JURY DEMAND      ■ YES        NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
       JUDGE_______________________________                            DOCKET NO._______________________

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
       1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
          BANKRUPTCY JUDGE.
       5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
       6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):



       7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                                , WHICH WAS
          DISMISSED. This case IS     IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




/s/ Chris J. Perniciaro, Esq.                                                                        8/11/2023
SIGNATURE OF ATTORNEY OF RECORD                                                                  DATE
